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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CaseNo.18-81118-CV-M IDDLEBROOKS

KELLY GM HAM ,

      Plaintiff,


CAPITAL ONE BANK (USA)N.A.,
       Defendant.

                                      ORDER CLO SING CASE
       THIS CAU SE comes before the Courtupon the Parties' Stipulation for Dism issal,filed on

M arch l8,2019. (DE 18). The Courtcongratulatesthe Partieson theirnmicableresolution ofthis
 matterand notes thatptlrsuantto Anago Franchising,Inc.v.Shaz,LLC,677 F.3d 1272 (11th Cir.
 2012),theParties'Stipulation isself-executing and no OrderoftheCourtisrequired to dismissthis

 action.Accordingly,itis

       ORDERED and ADJUD GED that:

        (1)Theabove-styledactionisDISM ISSED W ITH PREJUDICE.
        (2)TheClerkofCourtshallCLOSE thisCASE andDENY a11pendingmotionsASM OOT.

        (3)Eachpartyshallbeartheirownfeesandcosts.
        (4)Pursuantto theParties'request,thisCourtreservesjurisdiction to erlforcetheirsettlement
                         Jurisdidion willbe reserved foraperiod ofsix months.
           agreennent.
        SIGNEDinChambersinWestPalm Beach,Florida,thisW                  fMarch,2019.



                                                   D NALD M .M IDDLEBROOKS
                                                   UN ITED STATES DISTW CT JUDGE
  Copiesto:        Cotm selofRecord
